Case 1:21-cr-00245-AJT Document 130-2 Filed 10/18/22 Page 1 of 5 PagelD# 1789

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

UNITED STATES OF AMERICA

Criminal No. 21-CR-245 (AJT)

V.

IGOR Y. DANCHENKO,

Defendant.

GOVERNMENT’S LIST OF TRIAL EXHIBITS
GX # FBI Records \ Admitted
100 | 3-DAY INTERVIEW REPORT OF IGOR DANCHENKO x. Helsea
101. | 2017-05-18 CONTACT REPORT SUBSTITUTION eee
»| 102 | 2017-10-24 CONTACT REPORT SUBSTITUTION KX. telsea idhlod
103. | 2017-11-02 CONTACT REPORT SUBSTITUTION
104. | ANDERSON, AMY LYNC CHATS
105 | AUTEN, BRIAN LYNC CHAT EXCERPT
106 | HELSON, KEVIN LYNC CHATS
107. | HERTZOG, BRITTANY LYNC CHATS
»| 109A | COMPANY REPORT 095 8. Auden, toltilzz ale
109B | COMPANY REPORT 095
»| 112 | COMPANY REPORT 105 8. Auten, t0h2|22 5 ¢. Dolan iofiap2 © | Wi Melson iolisjzz
114. | 2017-06-12 104500 EMAIL
B.huten /*|_115_| 3-DAY INTERVIEW OF DANCHENKO 1A EXCERPT EMAIL JY K. Melson -lteliz fez
(ofitj2z-< »| LIST | 3-DAY INTERVIEW OF DANCHENKO 1A EXCERPT EMAIL ¢ AK: Molson + toltizfzz
TRANSCRIPT
116 | 3-DAY INTERVIEW OF DANCHENKO 1A EXCERPT BUSINESS
CARD
117. | DOSSIER REPORTS
«| 118 | IMMUNITY LETTER 8. Auten, toluf2z; K-HelSon tofi3f2zg | H
»| 119 | 2017-05-17 CONTACT REPORT SUBSTITUTION VK Belson |) (oltg foe
e| 120 | 2017-07-13 CONTACT REPORT SUBSTITUTION » Ww K-Helgon , |tofi3 j22
150 | 2017-03-16 RECORDING
“Kk. lets” 0151 | 2017-03-16 RECORDING EXCERPT ni
wot3Jaa4e| 0151T | 2017-03-16 RECORDING EXCERPT TRANSCRIPT cle”
K.Welse n*| 0152 | 2017-03-16 RECORDING EXCERPT o|
whaler
%. Helson @ WTA

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Case 1:21-cr-00245-AJT Document 130-2 Filed 10/18/22

Page 2 of 5 PagelD# 1790

9[ 0152T | 2017-03-16 RECORDING EXCERPT TRANSCRIPT | ~~ Ktekor whizz
‘| 0153 | 2017-03-16 RECORDING EXCERPT
0153T | 2017-03-16 RECORDING EXCERPT TRANSCRIPT
160 | 2017-05-18 RECORDING
0161 | 2017-05-18 RECORDING EXCERPT
0161T | 2017-05-18 RECORDING EXCERPT TRANSCRIPT
K Welson/*|_0162_| 2017-05-18 RECORDING EXCERPT -|7%
iiajzz Nel 0162T | 2017-05-18 RECORDING EXCERPT TRANSCRIPT e |”
0163 | 2017-05-18 RECORDING EXCERPT
0163T | 2017-05-18 RECORDING EXCERPT TRANSCRIPT
Noles ov 0164 | 2017-05-18 RECORDING EXCERPT o |v
\ofrafzza| 0164T | 2017-05-18 RECORDING EXCERPT TRANSCRIPT eo |v
170 | 2017-06-15 RECORDING
0171 | 2017-06-15 RECORDING EXCERPT 0 |%
keep i 0171T | 2017-06-15 RECORDING EXCERPT TRANSCRIPT o [7
g 0172 | 2017-06-15 RECORDING EXCERPT o |v.
K; Helson >») 0172T | 2017-06-15 RECORDING EXCERPT TRANSCRIPT o|%
| 0173 | 2017-06-15 RECORDING EXCERPT oY
K Belson | 0173T | 2017-06-15 RECORDING EXCERPT TRANSCRIPT [7
GX# Google Records Admitted
203 | 2016-07-14 044134 EMAIL
204 | 2016-07-21 124700 EMAIL K-Helson, tolz fez. -|
204T | 2016-07-21 124700 TRANSLATION k-Helson, toli3fzz, 10] 4/22" /
205 | 2016-07-26 093300 EMAIL k. Weloon, toli3f2z ol vy
205T | 2016-07-26 093300 TRANSLATION k.Htebon, shal2z2. : 4
206 | 2016-07-26 100600 EMAL Velen, tolizli2 “|
206T | 2016-07-26 100600 TRANSLATION K- Helgou, toliefzz ol ov
207 | 2016-08-18 123300 EMAIL K-elzon, toltafer — . Y
207T | 2016-08-18 123300 TRANSLATION K.Helcon, tolia 27. lv
GX# Sprint Records (202-679-xxxx) Admitted
300 | 2016-01 CALL DETAIL RECORDS
301 | 2016-02 CALL DETAIL RECORDS
302 | 2016-03 CALL DETAIL RECORDS
303. | 2016-04 CALL DETAIL RECORDS
304 | 2016-05 CALL DETAIL RECORDS
305 | 2016-06 CALL DETAIL RECORDS
306 | 2016-07 CALL DETAIL RECORDS:
307 | 2016-08 CALL DETAIL RECORDS
308 | 2016-09 CALL DETAIL RECORDS
309 | 2016-10 CALL DETAIL RECORDS

310

2016-11 CALL DETAIL RECORDS

Case 1:21-cr-00245-AJT Document 130-2 Filed 10/18/22 Page 3 of 5 PagelD# 1791

311 2016-12 CALL DETAIL RECORDS

312 | 2017-01 CALL DETAIL RECORDS

313. | 2017-02 CALL DETAIL RECORDS

314 | 2017-03 CALL DETAIL RECORDS

315. | 2017-04 CALL DETAIL RECORDS

316 | 2017-05 CALL DETAIL RECORDS

317 | 2017-06 CALL DETAIL RECORDS

318 | SPRINT SUBSCRIBER INFO DANCHENKO
GX# . AT&T Records (202-445-xxxx) Admitted
402. | CALL DETAIL RECORDS MOBILITY 2017

403 SUBSCRIBER RECORDS 2017

404 | CALL DETAIL RECORDS INTERNATIONAL 2017
405 | CALL DETAIL RECORDS WIRELINE 2017

407 | CALL DETAIL RECORDS MOBILITY 2016

408 | SUBSCRIBER RECORDS 2016

409 | CALL DETAIL RECORDS INTERNATIONAL 2016
410 | CALL DETAIL RECORDS WIRELINE 2016
GX# Verizon Records (404-667-xxxx) Admitted
500 | BILLING RECORDS .
501 ACCOUNT RECORDS

es = =*°| 503 | ACCOUNT RECORDS e wv
vo alez GX# : Facebook Records Admitted
K- Belson L 605 | 2016-06-14 ENTRY -|~%
whale S.!605T | 2016-06-14 ENTRY TRANSLATION ¢ | 7%
es | 607 | 2016-07-28 ENTRY o |v
solve 2ze
\ betes dé 610 | 2016-09-26ENTRY — o|
iohsjxa'’|_610T | 2016-09-26 ENTRY TRANSLATION of
“0/611 | 2018-04-04 ENTRY ol
»*| 612 | 2018-12-09 ENTRY ol’
iy *| 612T | 2018-12-09 ENTRY TRANSLATION o | 7
GX# KGlobal Records Admitted
700 | 2016-03-08 164300 EMAIL
701 | 2016-03-10 200600 EMAIL
*| 702 | 2016-04-29 203300 EMAIL C- Dolan, toftz\zz ol”
«| 703 | 2016-04-29 204000 EMAIL C- Dolan, whistler o | ~
704 | 2016-04-29 212100 EMAIL
705 | 2016-04-30 101100 EMAIL
706 | 2016-04-30 175300 EMAIL
708 | 2016-05-31 175100 EMAIL
709 | 2016-06-10 164900 EMAIL
710 | 2016-06-14 080000 EMAIL
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Case 1:21-cr-00245-AJT Document 130-2 Filed 10/18/22 Page 4 of 5 PagelD# 1792

711

2016-07-22 225900 EMAIL

712A

2016-08-19 130800 EMAIL €-Dolan, tola]2z \K. Veloon whializ.«

712B

2016-08-19 200600 EMAIL ¢- Dolan, of3izz °

713A

2016-08-20 124300 EMAIL C- Boban, telah ~ K-Helgon whali2*

713B

2016-08-20 124300 EMAIL ¢. Dolan , wl2fer ‘

714

2016-08-20 140000 EMAIL 8B. Aiden, toliz|zzs C-dolan tofts}ez .

715

2016-09-22 104500 EMAIL

717

2017-01-13 111500 EMAIL

GX#

Marriott/Ritz Carlton Records

805

2016-06-14 031700 EMAIL

814

INSIDE THE KREMLIN CONTACT SHEET

GxX#

Sidar Global Records

Admitted

901

2016-07-18 114700 EMAIL 3. Auten, to Whew K. trelsen id) «

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GX#

Public Records

Admitted

1200

2016-09-23 YAHOO NEWS ARTICLE

1202

2017-01-10 BUZZFEED ARTICLE C- Dolan, toliz|[22

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1203

2016-08-19 POLITICO ARTICLE

1204

2017-05-17 MUELLER APPOINTMENT

1205

DECLASSIFIED FISA 1 °

1206

DECLASSIFIED FISA 2 °

1207

DECLASSIFIED FISA 3 °

1208

DECLASSIFIED FISA 4 °

GX#

Amtrak Records

1300

AMTRAK RECORDS &- Auten. toliz|2z

GX#

Customs & Border Patrol Records

Admitted

1400

SERGEI MILLIAN TRAVEL RECORD 8. Auten - whizl2z ean
lit

GX#

LinkedIn Records

Admitted

1500

DANCHENKO LINKEDIN MESSAGES

1502

DANCHENKO LINKEDIN MESSAGES EXCERPT @.Auten , tolf2

WK: Helson 4

bl i3/z2.

GX#

Summary Witness Records _

Admitted

1602

SUMMARY DANCHENKO/DOLAN CALL DETAIL RECORDS

1603

SUMMARY DANCHENKO CALL DETAIL RECORDS

GX#

Microsoft Records

Admitted

1702

HOTMAIL SUBSCRIBER INFORMATION DANCHENKO

1703

HOTMAIL CONTACT MILLIAN

1704

HOTMAIL CONTACT DANCHENKO, ALYONA

1705

HOTMAIL CONTACT CDS

1706

HOTMAIL CONTACT MARTIN, JOSH

1707.

HOTMAIL CONTACT DOLAN, CHARLES

1708

HOTMAIL CONTACT SIDAR, CENK

1709

HOTMAIL CONTACT K, LYDIA

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Summary Chor +
' Case 1:21-cr-00245-AJT Document 130-2 Filed 10/18/22 Page 5 of 5 PagelD# 1793

1710_| HOTMAIL CONTACT KUPKA, STEVEN
1711_| HOTMAIL CONTACT OLYA
GX# Stipulations Admitted
«| 1800 | LINKEDIN RECORDS 8.Auten, wlufe= ol
- Bhuten [: 1801 | GOOGLE LLC RECORDS “
‘| 1802 _| RUSSIAN TO ENGLISH TRANSLATIONS o|
vo
wo

1oliz zz
1803 | KGLOBAL RECORDS :
1804 | AT&T RECORDS
«| 1805 | FACEBOOK RECORDS k-.Helgon. woheafez. .
1806 | MARRIOTT RECORDS
1807 | MICROSOFT RECORDS
1808 | T-MOBILE RECORDS
1809 | VERIZON RECORDS
.| 1810 | INTERNET APPLICATIONS 3. Auten, tohiz]22 - Offered v7 Whaz
+| 1811 | RECORDINGS AND TRANSCRIPTIONS K.-Helson, whalzz ol
‘+ 1812 | AMTRAK RECORDS “|v

